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                   EXHIBIT N
5/12/25, 3:45 PM      Homeland Security on X: "Kilmar Abrego Garcia is not a “Maryland Man”—he is an MS-13 gang member involved in human trafficki…
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                                                 Kilmar Abrego Garcia is not a “Maryland Man”—he is an MS-13 gang
                                                 member involved in human trafficking who entered the United States
                                                                                                                                                      Sign u
                                                 illegally.

                                                                                                                                                   Creat
                                                 His removal from the United States should have occurred under the
                                                 Biden Administration.                                                          By signing up, you agre
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                                                 He will not return to our country under the Trump Administration.


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